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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: TASIGNA (NILOTINIB) PRODUCTS
LIABILITY LITIGATION                                                                 MDL No. 3006


                                      TRANSFER ORDER


         Before the Panel: Plaintiff in the Southern District of Illinois Garland action moves under
28 U.S.C. § 1407 to centralize this litigation involving atherosclerotic injuries associated with use
of the chronic myeloid leukemia drug Tasigna (nilotinib) in the Southern District of Illinois or,
alternatively, the District of New Jersey. Plaintiff’s motion included eighteen actions pending in
twelve districts, as listed on Schedule A, as well as two potentially-related actions. 1 Plaintiffs in
all actions support the motion. Defendant Novartis Pharmaceuticals Corp. opposes centralization
in favor of informal cooperation among the parties; alternatively, Novartis suggests centralization
in the Middle District of Florida.

         After considering the argument of counsel, 2 we find that centralization of these actions in
the Middle District of Florida will serve the convenience of the parties and witnesses and promote
the just and efficient conduct of the litigation. All actions can be expected to share factual
questions arising from allegations that Novartis failed to appropriately warn of the risks that use
of Tasigna may cause severe atherosclerotic injuries. Despite warning doctors and patients in
Canada of the heightened risks of atherosclerotic-related conditions, 3 plaintiffs contend that
Novartis concealed its knowledge of Tasigna’s unreasonably dangerous risks from plaintiffs, other
consumers, and the medical community in the U.S. All plaintiffs bring claims for strict products
liability – failure to warn and negligence. Issues of general causation and Tasigna’s labeling and


1
  These actions, and any other related actions, are potential tag-along actions. See Panel Rules
1.1(h), 7.1 and 7.2.
2
 In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel heard oral
argument by videoconference at its hearing session of July 29, 2021. See Suppl. Notice of Hearing
Session, MDL No. 3006 (J.P.M.L. July 12, 2021), ECF No. 27.
3
   The Canadian warnings reportedly were prominently displayed in a box entitled “Serious
Warnings and Risks,” which directed health professionals to the Warnings and Precautions section.
It warned that atherosclerotic-related conditions could result in death and that Tasigna-related
peripheral arterial occlusive disease, “can be severe, rapidly evolving, and may involve more than
one site. Peripheral arterial occlusive disease might require repeated revascularization procedures
and can result in complications that may be serious such as limb necrosis and amputations.”
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regulatory history appear common to all actions. Centralization offers substantial opportunity to
streamline pretrial proceedings; reduce duplicative discovery and conflicting pretrial obligations;
prevent inconsistent rulings on common Daubert challenges and summary judgment motions; and
conserve the resources of the parties, their counsel and the judiciary.

        Novartis opposes centralization, arguing that there are too few actions to justify
centralization and that informal cooperation is feasible. We are not persuaded by these arguments.
The prospect for informally coordinating so many actions with differing schedules before so many
different judges seems labor-intensive and inefficient. To date, eighteen actions and two potential
tag-along actions are pending in thirteen different districts before nineteen judges. The number of
actions appears likely to grow. The parties estimated at oral argument that there are approximately
186 state court cases in New Jersey, which recently established a multi-county litigation docket
for Tasigna litigation. 4 Additionally, counsel for plaintiffs state that they are reviewing over two
hundred potential new cases. While defendants are correct that we are “disinclined to take into
account the mere possibility of future fillings in [its] centralization calculus,” In re Lipitor, 959 F.
Supp. 2d 1375, 1376 (J.P.M.L. 2013), the fact that so many Tasigna cases have been filed recently
in Novartis’s home state adds some credence to the prediction that more cases likely will be
forthcoming.

        Novartis cites our past decisions denying centralization in favor of informal cooperation,
but those decisions present distinguishable circumstances. In In re: Cymbalta (Duloxetine) Prods.
Liab. Litig., 65 F. Supp. 3d 1393, 1394 (J.P.M.L. 2014), we denied centralization of allegations
that defendant failed to warn users that discontinuing use of antidepressant Cymbalta allegedly
causes various withdrawal symptoms. But that litigation involved actions with significantly
different procedural postures – the three longest-pending actions were filed over a year before the
remaining 22 actions and were nearing the conclusion of discovery. Id. Here, though most actions
have been pending for over a year, no party asserts that discovery has concluded. Novartis also
points to In re Sorin 3T Heater-Cooler Sys. Prod. Liab. Litig., 273 F. Supp. 3d 1357, 1358
(J.P.M.L. 2017), but that litigation involved only sixteen cases pending in six districts, and ten of
the actions were pending before a single judge in the District of South Carolina and were
“proceeding in a coordinated fashion. Moreover, those ten actions were brought by just two groups
of plaintiffs’ counsel. Of the remaining six actions, four were brought by the same plaintiffs’
counsel, and the parties to those actions already are working successfully to minimize overlapping
pretrial proceedings by, for example, sharing discovery produced in multiple actions.” Id. We
also noted that “not a single party to any of the six actions pending outside the District of South
Carolina supports centralization.” Id. Here, all plaintiffs, who are represented by two groups of
counsel from three law firms, support centralization. Unlike in In re: Sorin, no cases – much less
a majority of the pending cases – are proceeding in a coordinated fashion in a single district.

       Finally, Novartis argues that plaintiff-specific causation issues arising from diagnoses of
atherosclerotic conditions in the Tasigna patient population are central to each action and best
managed outside of an MDL. But “[a]lmost all personal injury litigation involves questions of
causation that are plaintiff-specific. Those differences are not an impediment to centralization


4
    Centralization also facilitates coordination of the federal and state court actions.
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when common questions of fact are multiple and complex.” See, e.g., In re: Fluoroquinolone
Prods. Liab. Litig., 122 F. Supp. 3d 1378, 1379 (J.P.M.L. 2015). Here, issues of general causation
and discovery into Tasigna’s labeling and regulatory history, which may be international in scope,
appear to be sufficiently complex to justify centralization.

        We are persuaded that the Middle District of Florida is the appropriate transferee district
for these cases. More cases are pending in this district than any other district. The Middle District
of Florida offers a convenient and readily accessible district that is underutilized as a transferee
forum. By selecting Judge Roy Bale Dalton, we are selecting a jurist who is familiar with the
contours of multidistrict litigation. We are confident that Judge Dalton will steer this litigation on
a prudent course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Middle District of Florida are transferred to the Middle District of Florida and, with the consent
of that court, assigned to the Honorable Roy Bale Dalton for coordinated or consolidated
proceedings with the actions pending there and listed on Schedule A.


                                       PANEL ON MULTIDISTRICT LITIGATION



                                       _______________________________________

                                                       Karen K. Caldwell
                                                             Chair

                                       Catherine D. Perry             Nathaniel M. Gorton
                                       Matthew F. Kennelly            David C. Norton
                                       Roger T. Benitez               Dale A. Kimball
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IN RE: TASIGNA (NILOTINIB) PRODUCTS
LIABILITY LITIGATION                                           MDL No. 3006


                                     SCHEDULE A


     Western District of Arkansas

BURKE v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 2:20−02032

     District of Connecticut

COLELLA v. NOVARTIS PHARMACEUTICALS CORP, C.A. No. 3:20−00367

     Middle District of Florida

TONGE v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 2:20−00168
GIANCASPRO v. NOVARTIS PHARMACEUTICALS CORPORATION,
     C.A. No. 3:20−00346
MERCED, ET AL. v. NOVARTIS PHARMACEUTICALS CORPORATION,
     C.A. No. 8:20−00587

     Southern District of Illinois

GARLAND v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 3:20−00269

     District of Maryland

WITT v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 1:20−01249

     District of New Jersey

GUSTIN, ET AL. v. NOVARTIS PHARMACEUTICALS CORPORATION,
     C.A. No. 2:20−02753
DEAN v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 2:20−02755

     District of New Mexico

HURD v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 2:20−00262

     Southern District of New York

LALLY v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 1:20−02359
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     Middle District of North Carolina

DAVIS v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 1:20−01127

     District of North Dakota

POITRA v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 3:20−00123
ISAACSON v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 3:21−00057

     Western District of Washington

CRAIG v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 2:20−01641
PEDERSON v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 3:20−05216
BECKER v. NOVARTIS PHARMACEUTICALS CORPORATION, C.A. No. 3:20−05221

     Eastern District of Wisconsin

SCHIMMING, ET AL. v. NOVARTIS PHARMACEUTICALS CORPORATION,
     C.A. No. 2:21−00135
